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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                            5/29/20
MAHFUJUR RAHMAN, et ano.,
                                                      17-CV-5156 (RA) (BCM)
                 Plaintiffs,
          -against-                                   ORDER
RED CHILI INDIAN CAFE, INC., et al.,
                 Defendants.

BARBARA MOSES, United States Magistrate Judge.

          The Court has received and reviewed a hand-written letter from defendant Miah attaching

tax documents that, according to Miah, demonstrate his compliance with ¶ 3 of this Court's

February 27, 2020 order (Dkt. No. 90; see also Dkt. No. 97 ¶ 2). The Court reminds defendant

Miah that discovery responses need not and should not be submitted to the Court for filing,

unless they are needed for resolution of a discovery dispute. Instead, discovery responses should

be sent directly to the opposing party's counsel. Due to the sensitive nature of the tax documents

submitted to the Court, they will be filed under electronic seal. The parties are advised that there

may be a delay in docketing due to personnel restrictions caused by the COVID-19 pandemic.

          The Clerk of Court is respectfully directed to mail a copy of this Order to defendant Miah

pro se.

Dated: New York, New York
       May 29, 2020
                                               SO ORDERED.



                                               ________________________________
                                               BARBARA MOSES
                                               United States Magistrate Judge
